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                                             UNITED STATES DISTRICT COURT
                                         FOR THE WESTERN DISTRICT OF MICHIGAN

                            KOLU STEVENS;
                            PATRICK GREENHOE; and                             Case No.: 18-cv-757
                            CLAUDETTE GREENHOE;                             Honorable Paul L. Maloney
                                Plaintiffs,
                                                                                   RESPONSE
                                 v.
                                                                                     ***
                            MILTON L. MACK, JR., in his official               ORAL ARGUMENT
                            capacity as the Administrator of the                 REQUESTED
                            Michigan State Court Administrative                      ***
                            Office; KIM B. MEAD, in his official
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                            capacity as Bay County Probate Court
                            Administrator; WILLIAM M.
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                            HEFFERAN, in his official capacity as
                            Antrim County Circuit Court – Family
                            Division Administrator,
                                  Defendants
                                                                     /

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                                      PLAINTIFFS’ OPPOSITION TO DEFENDANT HEFFERAN’S
                                        MOTION TO DISMISS PURSUANT TO RULE 12(b)(6)

                                  NOW COMES Plaintiffs KOLU STEVENS, PATRICK GREENHOE,

                            and CLAUDETTE GREENHOE, by counsel, and opposes Defendant

                            WILLIAM M. HEFFERAN’s motion to dismiss pursuant to Fed.R.Civ.P.

                            12(b)(6). For the reasons outlined herein, the Court is requested to preclude

                            any use of or reference to the attached affidavit proffered by Defendant

                            WILLIAM M. HEFFERAN and deny the motion to dismiss pursuant to
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                            Fed.R.Civ.P. 12(b)(6).
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                                                              INTRODUCTION

                                  This case presents an exceptional challenge to the judicial-legislative

                            policies and directives contained in Michigan trial court’s local administrative

                            orders (“LAOs”)1 barring public access to inspect and/or copy the audio court

                            recordings (“ACRs”) of court proceedings made by court recording devices

                            and/or human ‘court recorders’ employees. Michigan law deems and

                            concedes such ACRs are, in fact, “court records.” Mich. Ct. R. 8.119(F). The

                            administrators (sued solely in their official capacities) are deferring to the

                            disputed LAOs to bar public access to the ACRs for inspection or copying.



                                  1 A court promulgating a rule or issuing administrative order outside of a case, is
                            undertaking legislative activity. Alia v. Michigan Supreme Court, 906 F.2d 1100, 1102 (6th
                            Cir. 1990)(collecting cases).

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                            The First Amendment expressly limits judicial discretion in the closing of

                            public access to court records like ACRs. Brown & Williamson Tobacco Corp

                            v. FTC, 710 F.2d 1165, 1177 (6th Cir. 1983). The state trial courts of

                            Michigan and their administrators have exceeded those constitutional

                            limitations by not meeting the Press-Enterprise test to support such blanket

                            closure of public access. This case seeks a federal remedy to correct that

                            unconstitutional state action. The motion to dismiss should be denied.
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                                                              FACTS
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                                  Because this matter comes before this Court on a motion to dismiss

                            under Rule 12(b)(6), ECF No. 16, PageID# 239, all the allegations in the

                            First Amended Complaint are deemed true and viewed in the light most

                            favorable to Plaintiffs. DirecTV, Inc. v. Treesh, 487 F.3d 471, 476 (6th Cir.

                            2007). To support this brief, Plaintiffs rely on and incorporate the detailed

                            facts pled in their First Amended Complaint. ECF No. 2. A concise summary

                            is as follows.

                                  In Michigan, many of the state trial-level courts have opted to make

                            digital audio recordings of court proceedings held in their respective

                            courtrooms throughout Michigan. Under Michigan law, the audio “court

                            recordings… [hereinafter “ACRs”] and all other records such as tapes,

                            backup tapes, discs, and any other medium used or created in the making


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                            of a record of proceedings and kept pursuant to MCR 8.108 are court

                            records.” Mich. Ct. R. 8.119(F); ECF No. 2, ¶54. Defendant Mack, in his

                            official capacity, requires each court to enact a local administrative order

                            controlling how generated and maintained ACRs may be accessed and

                            copied by the public. Id., ¶¶49-50. In this case, Antrim County Circuit Court

                            Administrative Order 2015-1 and Bay County Probate Court Administrative

                            Order 2014-01J are, in substantive part, identical and being challenged as
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                            violating the First Amendment. Id., ¶¶53, 69. Both LAOs completely ban any
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                            public access for inspection or copying of ACRs under any circumstances.

                            Id., ¶59. As discussed below, Defendants who relied or relies upon the

                            disputed LAOs, as based upon on Model LAO 8, renders their use by

                            Defendants as unlawful under the First Amendment. Id., ¶60. Neither Antrim

                            County Circuit Court Administrative Order 2015-1, Bay County Probate Court

                            Administrative Order 2014-01J, or Model LAO 8, require or have any specific

                            on-the-record findings demonstrating that closure of public access is

                            essential to preserve higher values and is narrowly tailored to serve that

                            interest under the required test via Press-Enterprise Co. v. Superior Court of

                            Cal., Riverside Cty., 464 U.S. 501, 510 (1984). Id., ¶64.

                                 In June 2018, Plaintiff KOLU STEVENS demanded but was denied

                            access to the ACRs of the trial court proceedings in regards to a case held


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                            Antrim County Circuit Court – Family Division captioned as In re Stevens,

                            Antrim County Circuit Court – Family Division Case No. 16-7652-NA

                            (hereinafter “Stevens Case”). 2 Id., ¶40. Plaintiff KOLU STEVENS is not and

                            never has asked this federal court to adjust, change, alter, or amend any

                            state court judgment related to the Stevens Case. See id., ¶69. After making

                            the request, Defendant WILLIAM M. HEFFERAN, in his official capacity as

                            Antrim County Circuit Court – Family Division Administrator, denied Plaintiff
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                            KOLU STEVENS’ request on the basis of Antrim County Circuit Court
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                            Administrative Order 2015-1. Id., ¶¶42-43; see also ECF No. 2-5. The same

                            thing essentially happened to Plaintiffs PATRICK GREENHOE and

                            CLAUDETTE GREENHOE in the Bay County Probate Court in the Kuflewski

                            Case, though Defendant Hefferan is not involved with that part for the instant

                            federal action. ECF No. 2, ¶¶24-25.

                                  Plaintiffs further allege that local administrative orders for “access,

                            inspection, reproduction, and creation of records” are controlled by the

                            standards set forth by the Michigan State Court Administrative Office

                            (“SCAO”). ECF No. 2, ¶52. SCAO is essentially sued here vis-à-vis

                            Defendant Mack in his official capacity.


                                  2  One area of confusion suffered by Defendant Mack’s brief is when the demand
                            for inspection and copying of the ACRs was made. The demand to access the ACRs was
                            done after the final, non-appeal resolution of the Stevens Case was completed.

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                                  The sole challenge made in this case is Plaintiffs’ respective total

                            denials of access to the ACRs as court records for inspection or copying.

                            None of the relevant proceedings of the Kuflewski Case or Stevens Case

                            were closed to the public, held in chambers, or placed under seal or under a

                            case-specific protective order. ECF No. 2, ¶¶36-38. Both the Bay County

                            Probate Court and the Antrim County Circuit Court – Family Division have

                            the ACRs in their possession due to the requirements of the General
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                            Retention Schedules. Id., ¶¶20, 39.
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                                                             ARGUMENT

                                                                    I.

                                                        Objection to Affidavit

                                  As part of the motion to dismiss under Rule 12(b)(6), Defendant

                            Hefferan attached his affidavit to his motion. ECF No. 16-1. A court may only

                            consider, as part of a Rule 12(b)(6) motion, “matters of public record, orders,

                            items appearing in the record of the case, and exhibits attached to the

                            complaint,” as well as “documents that a defendant attaches to a motion to

                            dismiss ... if they are [1.] referred to in the plaintiff's complaint and [2.] are

                            central to her claim.” Amini v. Oberlin Coll., 259 F.3d 493, 502 (6th Cir.

                            2001). Affidavits do not meet the Amini standard and are prohibited in a Rule

                            12(b)(6) challenge. See Fredrick v. Simmons Airlines, Inc., 144 F.3d 500,


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                            504 (7th Cir. 1998) (“Affidavits are not properly considered in deciding upon

                            a motion under Rule 12(b)(6).”). The Court is requested to exclude from

                            using the same to decide this motion. See Fed.R.Civ.P. 12(d).

                                                                  III.

                                                        Younger Abstention

                                  Plaintiffs and Defendant Hefferan agree that “federal courts have a

                            strict duty to exercise the jurisdiction that is conferred upon them by
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                            Congress” as confirmed by Quackenbush v. Allstate Ins. Co., 517 U.S. 706,
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                            716 (1996). Congress has provided a robust statutory vehicle to summon

                            state actors into federal court and have this Court halt their actions when

                            undertaken in violation of the U.S. Constitution. 42 U.S.C. § 1983. Yet,

                            Defendant Hefferan first asks this Court to apply the Younger abstention

                            doctrine to the pled § 1983 claim. ECF No. 16, PageID# 241. However, the

                            doctrine does not apply in this case. This Court has a “virtually unflagging

                            obligation” to decide those cases properly before it. Deakins v. Monaghan,

                            484 U.S. 193, 203 (1988). “A district court may abstain under the Younger

                            doctrine if three conditions exist: there are state proceedings that are (1)

                            currently pending; (2) involve an important state interest; and (3) will provide

                            the federal plaintiff with an adequate opportunity to raise his or her

                            constitutional claims.” Nimer v. Litchfield Twp. Bd. of Trustees, 707 F.3d 699,


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                            701 (6th Cir. 2013)(emphasis added). The “currently pending” condition

                            requires the existence of some sort of state proceeding “pending on the day

                            the plaintiff files in federal court” known as the “day of filing rule.” Id.

                            Procedurally, the doctrine’s invocation by Defendant Hefferan fails under

                            Nimer as there was not any pending state court proceeding at the time of

                            filing this federal lawsuit.3

                                   Moreover, Defendant Hefferan also fails to explain how this First
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                            Amendment challenge involves an important state interest when the
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                            challenge is made under the federal Constitution and federal law (vis-à-vis a

                            42 U.S.C. § 1983 action). He also fails to explain where Plaintiffs could have

                            brought their constitutional claims in state court in light of a claimed

                            heightened state over federal interests. 4

                                   Substantively, Younger permits abstention when there is an “ongoing”

                            state criminal prosecution, certain civil enforcement proceedings that are

                            “akin to criminal prosecutions,” and civil proceedings involving certain orders



                                   3  Defendant Hefferan’s brief states that the Stevens Case “could still” be on appeal.
                            ECF No. 16, PageID# 242. As the party seeking Rule 12(b)(6) relief, he has the burden
                            of “showing no claim has been stated.” Kehr Packages, Inc. v. Fidelcor, Inc., 926 F.2d
                            1406, 1409 (3rd Cir. 1991). “Coulds” do not meet the burden. However, there is no matter
                            pending as to the Stevens Case as the appeal was denied. In re Stevens, 2018 Mich.
                            App. LEXIS 580; 2018 WL 1345415 (2018). The time frame to appeal to the Michigan
                            Supreme Court has passed. Mich. Ct. R. 7.305(C)(2).
                                    4 When the Greenhoe Plaintiffs previously tried to bring the action in state court,

                            the trial court claim concluded it lacked subject matter jurisdiction. ECF No. 1-9.

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                            that are uniquely in furtherance of the state courts ability to perform their

                            judicial functions such as contempt orders. Doe v. Univ. of Ky., 860 F.3d 365,

                            369 (6th Cir. 2017). Defendant Hefferan claims the latter two are types are

                            implicated by this case. However, there is no ongoing state court or

                            administrative case, proceeding, or hearing pending which is “akin to [a]

                            criminal prosecution” or are specialty civil proceedings warranting Younger

                            relief. The doctrine is simply not applicable here and it in unclear why
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                            Defendant Hefferan thinks it does given Nimer’s conditional requirements
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                            and Doe’s limited types of state proceedings which need to be then-pending

                            at the time of the federal filing to seek the invocation of Younger relief.

                                                                        III.

                                                                    Standing

                                   Next, Defendant Hefferan claims Plaintiffs lack standing.5 He is correct

                            that Plaintiffs bear the burden of showing standing as existing. However,

                            Defendant Hefferan is misframing Plaintiffs’ actual pled case. To have

                            standing to sue, a plaintiff must show injury-in-fact, causation, and

                            redressability. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 103



                                   5  Properly, a motion to dismiss for standing is properly challenged under Rule
                            12(b)(1), not Rule 12(b)(6). Lyshe v. Levy, 854 F.3d 855, 857 (6th Cir. 2017)(“Whether a
                            party has standing is an issue of the court’s subject matter jurisdiction under Federal Rule
                            of Civil Procedure 12(b)(1).”). Because Defendant Hefferan did not make his motion under
                            Rule 12(b)(1), his Rule 12(b)(6) motion on standing should be automatically denied.

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                            (1998). “[T]he ultimate merits of the case have no bearing on the threshold

                            question of standing.” Campbell v. Minneapolis Pub. Hous. Auth., 168 F.3d

                            1069, 1074 (8th Cir. 1999).

                                   To prove standing, Plaintiffs’ complaint outlines that they demanded

                            access to judicial/court records and were denied for what they allege is

                            unconstitutional prohibition on access. ECF No. 2. Plaintiffs are being denied

                            access to the court records they claim they are entitled to have access to
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                            under the First Amendment. They are injured by having a pled an invasion
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                            of a legally protected interest by denial of the First Amendment rights. 6 The

                            denial of access is being caused by the wrongful decision of the Defendants

                            which violate the First Amendment.7 A plaintiff can sue official-capacity



                                   6  “To establish injury in fact, a plaintiff must show that he or she suffered ‘an
                            invasion of a legally protected interest.’” Spokeo, Inc. v. Robins, 578 U.S. __; 136 S. Ct.
                            1540, 1548 (2016). As members of the public, Plaintiffs have a First Amendment right to
                            access these records. Publicker Indus., Inc. v. Cohen, 733 F.2d 1059, 1066 (3d Cir.
                            1984)(“[t]he public's right of access to civil trials and records is as well established as that
                            of criminal proceedings and records.”). “A plaintiff whose constitutional rights are violated
                            is entitled to nominal damages even if he suffered no compensable injury.” Slicker v.
                            Jackson, 215 F.3d 1225, 1231 (11th Cir. 2000).
                                    7 Various defendants have suggested that suing the injury-inflicting administrators

                            (as oppose to the courts themselves or the chief judges) to challenge the resulting harm
                            from an underlying decision of a governmental body is improper. The Sixth Circuit just
                            recently rejected that argument and held that a plaintiff’s alleged injury also could be
                            remedied by ordering the administrators to act in a particular way despite the background
                            governmental body’s decision otherwise. Durham v. Martin, __ F.3d __; 2018 U.S. App.
                            LEXIS 26858; 2018 WL 4496404 (6th Cir. 2018). This makes sense in a constitutional
                            challenge because the highest duty of a governmental official is to the U.S. Constitution
                            via supremacy and not a particular local policy. N.N. v. Madison Metro. Sch., 670
                            F.Supp.2d 927, 933 (W.D. Wis. 2009); see also Mich. Const. 1963, art. XI, § 1 (Michigan
                            officials swear oath to support the US Constitution).

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                            administrators effectuating the governmental decisions of their larger political

                            bodies. Durham v. Martin, __ F.3d __; 2018 U.S. App. LEXIS 26858; 2018

                            WL 4496404 (6th Cir. 2018)(copy attached). An order commanding access

                            by the administrators would redress the wrong, thereby fulfilling

                            redressability. Id. Standing is clearly met.

                                  Defendant Hefferan is confusing his belief that he has no authority alter

                            the LAOs as being the same thing as Plaintiffs lacking standing. His assertion
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                            is a merits question, not a standing question. Standing and the merits are
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                            two separate inquiries. In evaluating standing, “the court must be careful not

                            to decide the question on the merits for or against the plaintiff, and must

                            therefore assume that on the merits the plaintiffs would be successful in their

                            claims.” Cooksey v. Futrell, 721 F.3d 226, 239 (4th Cir. 2013) (quoting City

                            of Waukesha v. EPA, 320 F.3d 228, 235 (D.C. Cir. 2003)); see also Parker

                            v. District of Columbia, 478 F.3d 370, 377 (D.C. Cir. 2007). Defendant

                            Hefferan has failed to heed this rule. In essence, the question of standing is

                            whether this litigant is entitled to have the court decide the merits of the

                            dispute or of particular issues. Allen v. Wright, 468 U.S. 737, 750-751 (1984)

                            (quoting Warth v. Seldin, 422 U.S. 490, 498 (1975)). Whether or not Plaintiffs

                            ultimately win their case on the merits is another matter. Thusly, Plaintiffs’

                            allegations easily fulfill the standing obligations.


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                                  In the past, there has been a question of when a public body takes a

                            unconstitutional act and its administrators carry forward that wrong, who

                            does the plaintiff have standing to sue? About a week ago, the Sixth Circuit

                            put that issue to rest in Durham v. Martin, __ F.3d __; 2018 U.S. App. LEXIS

                            26858; 2018 WL 4496404 (6th Cir. 2018)(published decision).8 Durham, a

                            Tennessee state legislator, alleged his expulsion from state House of

                            Representatives deprived him of federal due process. That expulsion then
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                            resulted in Tennessee officials automatically denying him certain retirement
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                            and healthcare benefits because he was no longer part of the state

                            legislature. When Durham sued those administrators for denying him his

                            particular benefits, the administrators sought and federal district court

                            granted dismissal of the complaint theorizing that “the complaint alleged that

                            the denial of his benefits was caused by the legislature’s expelling him, rather

                            than by any act by the administrators.” The Sixth Circuit reversed. It held that

                            “Durham had standing to sue the administrators because his injury that he

                            seeks to remedy is fairly traceable to the administrators’ conduct. Simply put,

                            Durham alleges that he is not receiving benefits that the administrators

                            should pay. That is sufficient to show standing...” The Durham panel

                            concluded that—


                                  8   A copy of Durham is attached for the court’s convenience given its newness.

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                                  Even if it is true that the legislature’s expulsion was the ultimate reason
                                  why Durham lost his benefits, it was still the administrators who denied
                                  those benefits to Durham. That they denied the benefits because of
                                  Durham’s expulsion does not change the fact that they were the state
                                  actors whose conduct resulted in the injury—denial of benefits—
                                  alleged in the complaint.

                            The same thing is being tried by this court administrator as was tried by the

                            Tennessee legislative administrators, and Durham renders the standing

                            argument meritless. The injury Plaintiffs seek to remedy is similarly traceable

                            to Defendant Hefferan’s conduct of denying access to the ACRs just like the
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                            Tennessee officials denying benefits, even if the basis for that action was the
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                            underlying unconstitutional actions of the public body for whom the

                            administrators serve.

                                                                  IV.

                                                    Exhaustion of State Remedies

                                  Next, Defendant Hefferan (like Defendant Mack) claims the § 1983

                            claim(s) cannot be brought until Plaintiffs have exhausted their state court or

                            administrative remedies. Like Defendant Mack, he also provided no legal

                            authority for these assertions that such exhaustion is required before

                            bringing a First Amendment claim to this Court pursuant to 42 U.S.C. § 1983.

                            ECF No. 16, PageID# 244. Thusly, the argument is abandoned. United

                            States v Reyes, 2010 U.S. Dist. LEXIS 19450, at *13 (WD Mich, Mar. 4,

                            2010)(MALONEY, J.)(citing U.S. v. Fox, 363 Fed. Appx. 375 (6th Cir. Feb. 1,

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                            2010)). However, it has been long established state remedy exhaustion is

                            not required prior to bringing a non-prisoner § 1983 claim. Felder v. Casey,

                            487 U.S. 131, 147 (1988); Patsy v. Bd. of Regents for Florida, 457 U.S. 496,

                            500-501, 516 (1982)(recounting its nine prior decisions that held the same);

                            Monroe v. Pape, 365 U.S. 167, 183 (1971)(“The federal remedy is

                            supplementary to the state remedy and the latter need not be first sought

                            and refused before the federal one is invoked.”); see also Colorado River
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                            Water Cons. Dist. v. U.S., 424 U.S. 800, 814-815 (1976)(“it was never a
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                            doctrine of equity that a federal court should exercise its judicial discretion to

                            dismiss a suit merely because a State court could entertain it.”). Exhaustion

                            is only required when Congress requires it; it has not done so for the § 1983

                            claims raised in this case. McCarthy v. Madigan, 503 U.S. 140, 144 (1991);

                            see also Patsy, supra, at 515.

                                                                   V.

                                                     The Michigan Constitution

                                  The next argument of Defendant Hefferan is odd. He argues “that the

                            exclusive jurisdiction for a claim [for superintending control] rests solely with

                            the Michigan Supreme Court” and thus this federal court case must be

                            dismissed. ECF No. 16, PageID# 245. First, the obvious—we are in federal,

                            not state, court. Second, Plaintiffs have not sought a writ of superintending


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                            control. See ECF No. 2, ¶69. Plaintiffs have brought an official capacity claim

                            against three administrators in their official capacities for violations the First

                            Amendment. Section 1983 provides a cause of action when any person

                            “under color of any statute, ordinance, regulation, custom, or usage” subjects

                            (or causes to be subjected) any citizen of the United States “to the

                            deprivation of any rights, privileges, or immunities secured by the

                            Constitution.” 42 U.S.C. § 1983. He or she shall be liable to the party injured
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                            in an action at law, suit in equity, or other proper proceeding for redress. Id.
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                            This “federal remedy is supplementary to the state remedy and the latter

                            need not be first sought and refused before the federal one is invoked.”

                            Monroe, supra, at 183. So while Plaintiffs arguendo might have had a state

                            court process they could have invoked, this federal § 1983 remedy stands

                            ready to provide a “proper proceeding for redress.” And “a federal court may,

                            without violating the Eleventh Amendment, issue a prospective injunction

                            against a state officer to end a continuing violation of federal law. Price v.

                            Medicaid Director, 838 F.3d 739, 746-747 (6th Cir. 2016)(citing Ex Parte

                            Young, 209 U.S. 123, 159 (1908)).




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                                                                   VI.

                                                     Rooker-Feldman Doctrine

                                  Next, Defendant Hefferan invokes Rooker-Feldman. The Rooker-

                            Feldman doctrine precludes jurisdiction as to cases “brought by state-court

                            losers complaining of injuries caused by state-court judgments rendered

                            before the district court proceedings commenced and inviting district court

                            review and rejection of those judgments.” Exxon Mobil Corp v. Saudi Basic
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                            Industries Corp, 544 U.S. 280, 284 (2005). The doctrine’s application is
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                            narrow. Id., at 283.9 The doctrine is based on two decisions interpreting 28

                            U.S.C. § 1257(a), District of Columbia Court of Appeals v. Feldman, 460 U.S.

                            462 (1983) and Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923). It has long

                            been misunderstood. The Supreme Court revisited the doctrine in 2005 in

                            Exxon. The Supreme Court in Exxon highly limited the ability of party-

                            defendants’ ability to invoke Rooker-Feldman to preclude federal jurisdiction

                            over claims. A year later, the Sixth Circuit in McCormick v. Braverman, 451

                            F.3d 382 (6th Cir. 2006) confirmed that the pertinent inquiry after Exxon is

                            what is the “source of the injury” upon which plaintiff bases his federal claim

                            is the state court judgment. Id., at 393; see also Kovacic v. Cuyahoga County


                                  9In the wake of Exxon, the Sixth Circuit has tightened the scope of Rooker-
                            Feldman. See, e.g., Coles v. Granville, 448 F.3d 853, 857 (6th Cir. 2006) (“Rooker
                            Feldman is a doctrine with only limited application.” emphasis added).

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                            Dep’t of Children & Family Servs., 606 F.3d 301, 303 (6th Cir. 2010). That

                            source of injury here (via the First Amendment) in not the final judgments in

                            the Kuflewski or Stevens Cases, but rather the LAOs issued when none of

                            the Plaintiffs were a party or under the personal jurisdiction of the Bay County

                            Probate or Antrim County Circuit Courts when their respective (and

                            identically worded) LAOS were issued. ECF No. 2, ¶¶26, 45. In 2011, the

                            Supreme Court again took up the doctrine and followed the Sixth Circuit’s
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                            lead in applying Exxon correctly—a state-court decision is not reviewable by
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                            lower federal courts, but a statute or rule governing the [state court] decision

                            may be challenged in a federal action.” Skinner v. Switzer, 131 S. Ct. 1289,

                            1298 (2011). In other words, a plaintiff may challenge the underlying law that

                            served as the basis for the state court judgment.

                                  Poignantly, Plaintiffs here are not actually challenging a state court

                            judgment or even the underlying law that served as the basis for the state

                            court judgments from the Kuflewski or Stevens Cases. In this federal action,

                            Plaintiffs are not at all trying to challenge, set aside, alter, or adjust their final

                            judgments. The source of their pled injury is the Defendants’ unconstitutional

                            denial of access to court records by adherence to and/or creation of

                            unconstitutional LAOs. Plaintiffs are simply seeking to challenge their denial

                            of access to court records via the use of the LAOs that block such access in


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                            violation of the First Amendment. The challenges are to the formulation and

                            use of the LAOs, as a form of legislatively-enacted standard. Alia v Michigan

                            Supreme Court, 906 F.2d 1100, 1102 (6th. Cir. 1990). This court case,

                            contrary to Defendant Hefferan’s inaccurate assertions, is not sought to be

                            engaging in any appellate review of state court findings. Because only the

                            LAO as legislation is being challenged and not the outcome of any particular

                            state court judgment, Rooker-Feldman does not apply.
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                                                                 VII.
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                                                      Pleading Requirements

                                  Next, Defendant Hefferan argues the case should be dismissed

                            because the complaint “does not describe with any specificity which

                            transcripts allegedly have errors or misrepresentations.” ECF No. 16,

                            PageID# 247. That is not the federal claim pled by Plaintiffs in their First

                            Amended Complaint. Plaintiffs are not asking this Court to determine

                            whether the state court transcripts are correct or not. ECF No. 2, ¶69.

                            Plaintiffs are instead challenging the denial of their access to self-professed

                            court records, the ACRs. The reasons why the Defendants are not providing

                            access for inspection or copying is due to LAOs which block access in an

                            unconstitutional manner under the First Amendment. Because Plaintiffs are

                            not seeking to have this Court make any determination about what


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                            Defendant Hefferan calls “errors or misrepresentations” in the transcripts,

                            there is no need to plead them, let alone to a level of specificity. This case is

                            not about transcripts, but rather about denial of access to the ACRs as court

                            records. But even Defendant Hefferan believed this case was about

                            transcripts, there is a process to make that challenge for vague and non-

                            understandable pleadings—a motion for a more definite statement under

                            Fed.R.Civ.P. 12(e). He has not sought to invoke it by this motion. ECF No.
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                            16, PageID#230-231.
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                                                                  VIII.

                                                         Qualified Immunity

                                  Lastly, Defendant Hefferan claims qualified immunity in this case. ECF

                            No. 16, PageID# 248-249. Defendant Hefferan is right about one thing—

                            “when a defendant raises a defense of qualified immunity, the plaintiff bears

                            the burden of demonstrating that the defendant is not entitled to qualified

                            immunity.” Livermore ex rel. Rohm v. Lubelan, 476 F.3d 397,403 (6th Cir.

                            2007). Plaintiffs respond easily and very simply. Defendant Hefferan is not

                            entitled to qualified immunity because this is an official capacity case against

                            Defendant Hefferan, ECF No. 2, PageID# 42, ¶7, and it is clearly established

                            that “public officials may not assert qualified immunity as a shield in their

                            official capacities.” Benison v. Ross, 765 F.3d 649, 665 (6th Cir. 2014) (citing


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                            Kentucky v. Graham, 473 U.S. 159, 166-167 (1985) (“qualified immunity [is]

                            not available to government officials defending against suit in their official

                            capacities”). Stated another way, qualified immunity is a personal defense

                            that applies only to government officials sued in their individual capacities.

                            Everson v. Leis, 556 F.3d 484, 501 fn.7 (6th Cir. 2009)(emphasis added).10

                            The claim of qualified immunity fails.

                                                           RELIEF REQUESTED
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                                  WHEREFORE, the Court is requested to exclude any use of the
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                            offending affidavit attached as ECF No. 16-1 and all references to the same;

                            deny the motion; and order Defendant WILLIAM M. HEFFERAN to answer

                            the amended complaint in accordance with Fed.R.Civ.P. 12(a)(4)(A).

                             Date: September 27, 2018                   RESPECTFULLY SUBMITTED:

                                                                        /s/ Philip L. Ellison
                                                                        OUTSIDE LEGAL COUNSEL PLC
                                                                        PHILIP L. ELLISON (P74117)
                                                                        Counsel for Plaintiffs




                                  10  Because the nature of the argument by Defendant Hefferan is that he is entitled
                            to qualified immunity, this briefing suffices to address that improper assertion. For the
                            argument how First Amendment jurisprudence applies to show a violation of established
                            First Amendment rights, see ECF No. 22, PageID# 290-296.

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                                                    CERTIFICATE OF SERVICE

                                  I, the undersigned attorney of record, hereby certify that on the date

                            stated below, I electronically filed the foregoing with the Clerk of the Court

                            using the ECF system which will send notification of such filing to all counsel

                            or parties of record.

                             Date: September 27, 2018              RESPECTFULLY SUBMITTED:

                                                                   /s/ Philip L. Ellison
                                                                   OUTSIDE LEGAL COUNSEL PLC
OUTSIDE LEGAL COUNSEL PLC




                                                                   PHILIP L. ELLISON (P74117)
                                                                   Counsel for Plaintiffs
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